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FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex. 4 69

Admitted: Yes or No (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. Now

Nature of Hearing/

Decket Ne:

Dated 07/22 , 2021.

 

By: ,» Deputy Clerk
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DEPARTMENT OF THE TREASURY
BUREAU OF THE FISCAL SERVICE
BIRMINGHAM, AL 35201-1686
May 23, 2018

 

Julian Rook Jr.
3648 Dartford Lane
Tallahassee, FL 32311

Dear Julian Rooks Jr.:

This is in response to your recent correspondence.

At the present time, our records in the Treasury Offset Program database indicate one active
debt under your name. As of this date, ifa Federal payment were to be issued to you, it would
be subject to offset. This debt was submitted by the U.S. Department of Education:

U.S. Department of Education
Federal Offset Unit

P.O. Box 5227

Greenville, TX 75403
Telephone: 800-621-3115

If you have any questions about this debt, you must contact the agency at the address and
telephone number listed above. That agency maintains all your debt records and makes all
decisions regarding the debt, including removai from the Treasury Offset Program and the
refunding of any monies taken in error. Treasury-Bureau of the Fiscal Service does not
maintain individual debt case files.

U.S. Department of the Treasury

Bureau of the Fiscal Service

(800) 304-3107

Telecommunications Device for the Deaf (TDD) (866) 297-0517
